 Case: 17-11542-BAH Doc #: 12 Filed: 11/17/17 Desc: Main Document                                    Page 1 of 5



                                   UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF NEW HAMPSHIRE

In Re: Sean C. Driscoll                                                                   BK No. 17-11542-BAH
                Debtor                                                                    Chapter 13

                                    CHAPTER 13 PLAN DATED NOVEMBER 17, 2017

          If this box is checked, this plan contains certain nonstandard provisions set out in paragraph 13 below.
          Any nonstandard provisions stated elsewhere in this plan are void.

       If this box is checked, this plan seeks to limit the amount of a secured claim based on a valuation of the
       collateral for the claim pursuant Federal Rule of Bankruptcy Procedure 3012. Details are set out in
       paragraph 7 below.

       If this box is checked, the debtor(s) will seek to avoid a judicial lien or non-possessory, nonpurchase-
       money security interest by separate motion to be filed in due course pursuant to Federal Rule of
       Bankruptcy Procedure 4003. Details are set out in paragraph 13 below.

Debtor: Sean C. Driscoll                   SS # xxx-xx-6700


1.   PLAN PAYMENTS

     The applicable commitment period pursuant to 11 U.S.C. § 1325(b)(4) is not less than 3 years. This is a _36_
     month plan.

     Debtor will make regular payments to the Trustee as follows:

     $_177.00_ per month for _36_ months

     Total of monthly plan payments:                                                               $_6,372.00__

     Debtor(s) will make additional payments(s) to the Trustee from other sources as specified below. Describe the
     source, estimated amount, and date of each anticipated payment.

     _________________________________________________________________________________________

     In addition, for each year during the term of the plan, all tax refunds in excess of $1,200.00 will be remitted
     within fourteen (14) days of receipt to the trustee as additional disposable income to fund the plan. Deviation
     from this requirement in a given year will be considered by the court only upon the filing of a motion asserting
     extenuating circumstances; any such motion must be filed within thirty (30) days of the date of the filing of the
     tax return at issue.


2.   ADMINISTRATIVE CLAIMS

     Trustee’s fee pursuant to 11 U.S.C. § 1302 and debtor(s)’ attorney’s fees:

     A.      Trustee’s estimated fees and expense (10% of the total to be paid):                   $ 637.00

     B.      Attorney’s fee and expenses requested to be paid through the plan,
             payable pursuant to AO 2016-1, notwithstanding 11 U.S.C. § 1325(a)(5)(B)(iii):        $ 2,500.00

     C.      Other:                                                                                $___________


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LBF 3015-1A (Eff. 12/1/17)
 Case: 17-11542-BAH Doc #: 12 Filed: 11/17/17 Desc: Main Document                                         Page 2 of 5



3.   DOMESTIC SUPPORT OBLIGATIONS

     The following DSO claims will be paid in full through the plan:
                                                                                                         Estimated Total
     Creditor                                                                                            Prepetition
                                                                                                         Arrearage Claim
     DIANE DRISCOLL TSAKALAKOS                                                                           $___0_______
     Child support
     Debtor’s obligations on child support are up to date; no child support arrearage.


4.   PRIORITY CLAIMS

     NONE


5.   SECURED CLAIMS (PRIMARY RESIDENCE)

     Residence located at: 18 Cross St, Hudson, NH

     Debtor(s) estimate the fair market value of such primary residence to be: $192,100.00

     Since the debtor(s) seek to retain the collateral, and for the lien to remain in full force and effect, the claim will
     be treated in one of the following manners:

     ( )    Outside the plan. The mortgage is current and will continue to be directly payable by the debtor(s).
OR
     (X) The mortgage is not current. Regular post-petition payments will be made directly by the debtor(s) and the
         prepetition arrearage only is to be paid through the plan, as follows:

           BANK OF AMERICA HOME LOANS                                                 $ 0
           $128,000.00 arrears - NOT to be paid through the Plan. See provisions of paragraph 13.

     (X) As set forth in paragraph 13 below.

            Debtor shall seek a loan modification from BANK OF AMERICA HOME LOANS.
            See provisions of Paragraph 13.


6.   SECURED CLAIMS (OTHER)

     NONE.


7.   SECURED CLAIMS TO BE MODIFIED

     NONE.


8.   SECURED CLAIMS WHERE COLLATERAL TO BE SURRENDERED

     NONE.


9.   EXECUTORY CONTRACTS AND UNEXPIRED LEASES

     NONE.
Case: 17-11542-BAH Doc #: 12 Filed: 11/17/17 Desc: Main Document                                      Page 3 of 5



10. UNSECURED CLAIMS

  Unsecured creditors’ claims total $21,781.00 (including, if applicable, the unsecured portion of claims modified
  under paragraph 7). The percentage to be paid toward these claims will be determined after the bar date for filing
  claims has passed and will be specified in a motion for authorization to pay certain claims. Unsecured creditors
  will begin receiving payment on a pro rata basis with any secured arrearage and priority claims after the issuance
  of such an order. If all scheduled claims are allowed, the percentage distribution to creditors is estimated at
  __15_%.


11. GENERAL PLAN PROVISIONS

  A.   Duty to Provide Tax Returns and Income Information: For the entire term of the plan, the debtor(s)
       must provide a copy of each federal income tax return or each request for an extension to file such return,
       directly to the trustee within seven (7) days of the filing of such return or extension request with the taxing
       authority. If a debtor is not required to file a federal income tax return for a particular tax year because of a
       lack of taxable income, then the debtor must notify the trustee, in writing, that no tax return will be filed.
       The trustee must receive this written notification no later than April 15 of the calendar year in which the tax
       return would ordinarily have been due.

  B.   Allowance of Claims: In the event that a proof of claim is filed in an amount different from the amount
       listed in this plan, the proof of claim amount shall be deemed to be the correct amount unless the debtor(s)
       or another party in interest successfully object to the proof of claim.

  C.   Property of the Estate and Insurance: All property shall remain property of the estate until discharge.
       Pursuant to 11 U.S.C. § 1306(b), the debtor(s) will remain in possession of all property of the estate unless
       a provision of this plan, or an order of this court, specifically states otherwise. The debtor(s) shall maintain
       all insurance required by law and contract upon property of the estate and the debtor(s)’ property.

  D.   Retention of Lien: All secured creditors shall retain the liens securing their claims unless otherwise stated.

  E.   Application of Payments Under This Plan:

       1.    Pursuant to 11 U.S.C. § 524(i), payments received by holders and/or servicers of mortgage claims for
             ongoing postpetition installment payments shall be applied and credited to the debtor(s)’ mortgage
             account as if the account were current and no prepetition default existed on the petition date, in the
             order of priority specified in the note and security agreement and applicable non-bankruptcy law.
             Postpetition installment payments made in a timely manner under the terms of the note shall be applied
             and credited without penalty.

       2.    If a creditor applies payments in a manner not consistent with the terms of this plan, or applies
             trustee payments to postpetition costs and fees without prior approval of this court, such actions
             may be a violation of 11 U.S.C. § 524(i).

  F.   Duty of Mortgage Servicer to Provide Loan Information:

       1.    Upon written request of the debtor(s), any mortgage servicer or its successor shall provide to the
             debtor(s) and/or the debtor(s)’ attorney all information with respect to the debtor(s)’ mortgage loan as
             it would provide absent a bankruptcy proceeding, including contractual monthly payment changes.
             The term “information” as used herein shall include, but is not limited to: (a) a coupon book or monthly
             statements to help the debtor(s) properly make monthly payments, (b) addresses to which to send
             payments and to direct inquiries, (c) balance and payoff information if requested, and (d) if applicable,
             escrow analyses, notices of rate adjustments and the like. The debtor(s) shall not make any claim
             against the mortgage servicer, the secured creditor or their successors for any violation of the automatic
             stay or any discharge injunction resulting from its compliance with this section.

       2.    Upon written request of the debtor(s)’ counsel, any of the information requested to be provided to the
             debtor(s) in paragraph F(1) above shall also be provided to the debtor(s)’ counsel.
Case: 17-11542-BAH Doc #: 12 Filed: 11/17/17 Desc: Main Document                                        Page 4 of 5



   G.   Release of Certificate of Title Upon Satisfaction of Secured Claim:

        1.   Upon satisfaction or other discharge of a security interest in a motor vehicle, mobile home, or in any
             other property of the bankruptcy estate for which the certificate of title is in the possession of a secured
             creditor, such creditor shall within fourteen (14) days after demand and, in any event, within thirty
             (30) days of receipt of the notice of the entry of the discharge order, execute a release of its security
             interest on said title or certificate, in the space provided therefore on the certificate or as the Division
             of Motor Vehicles prescribes, and mail or deliver the certificate and release to the debtor(s) or to the
             attorney for the debtor(s).

        2.   Confirmation of this plan shall impose an affirmative and direct duty on each such secured creditor to
             comply with this paragraph. This provision shall be enforced in a proceeding filed before this court
             and each such creditor consents to such jurisdiction by failure to file any timely objection to this plan.
             Such an enforcement proceeding may be filed by the debtor(s) in this case either before or after the
             entry of the discharge order and either before or after the closing of this case. The debtor(s) specifically
             reserve the right to file a motion to reopen this case under 11 U.S.C. § 350 to pursue the rights and
             claims provided for therein.


12. LIQUIDATION ANALYSIS

   In the event of a liquidation under chapter 7, I would claim the state exemptions, based upon which unsecured
   creditors would receive____0_____%.

   A. REAL ESTATE: Residential, located at: 18 Cross St., Hudson, NH

                                  Fair Market                  Exemption                    Available
        Description               Value       Liens            Amount and Cite              Chapter 7

        Single Family Home        $192,100.     $209,611.      $120,000.                    $___0______
        Debtor’s homestead                                     RSA 480:1
                                                                             Total non-exempt value: $___0___

        REAL ESTATE: Non-residential, located at

        NONE.

   B.   NON-EXEMPT TANGIBLE ASSETS:

        NONE.

   C.    NON-EXEMPT INTANGIBLE ASSETS:

        NONE.


13. SPECIFIC NONSTANDARD PLAN PROVISIONS

   Under Federal Rule of Bankruptcy Procedure 3015(c), nonstandard provisions must be set forth below.
   “Nonstandard provision” means a provision deviating from or not otherwise included in LBF 3015-1A.[KL1]
   Nonstandard provisions not set forth below are void.

   If this box is checked, the debtor(s) propose to enter into a consensual loan modification with BANK OF
X AMERICA HOME LOANS. To the extent that the treatment of the secured creditor within the plan relies on
   the existence of such a loan modification, the debtor(s) may not oppose a motion for relief from the automatic
   stay filed by the secured creditor, based solely on the proposed loan modification.
 Case: 17-11542-BAH Doc #: 12 Filed: 11/17/17 Desc: Main Document                                        Page 5 of 5




I declare under penalty of perjury that the foregoing is true and correct.




Date: 11/17/2017                                                      /s/ Sean C. Driscoll
                                                                      Debtor: Sean C. Driscoll


By filing this plan, the debtor(s), if not represented by an attorney, or the attorney for the debtor(s), certify that this
plan contains no nonstandard provisions other than those set out above in paragraph 13. “Nonstandard provision”
means a provision deviating from or not otherwise included in LBF 3015-1A.




_____________________________________________________________________________________
LBF 3015-1A (Eff. 12/1/17)
